Case 2:15-cv-08313-GW-E Document 82 Filed 09/07/17 Page 1 of 7 Page ID #:3282



  1                                                                  JS-6
  2

  3

  4

  5

  6

  7

  8

  9

 10                          UNITED STATES DISTRICT COURT
 11                        CENTRAL DISTRICT OF CALIFORNIA
 12

 13
      VARDAN KARAPETYAN, an                     CASE NO.: CV 15-08313-GW(Ex)
      individual appearing individually and
 14   on behalf of others similarly situated,   Assigned to: Hon. George H. Wu,
                                                Courtroom 9D
 15                       Plaintiff,
      v.                                        ORDER GRANTING PLAINTIFF’S
 16                                             MOTION FOR FINAL APPROVAL
      ABM INDUSTRIES                            OF CLASS ACTION SETTLEMENT
 17   INCORPORATED, a Delaware                  AND JUDGMENT THEREON
      Corporation, ABM SECURITY
 18   SERVICES, INC., a California              DATE: September 7, 2017
      Corporation, and DOES 1-50,               TIME: 8:30 a.m.
 19   inclusive,                                CTRM: 9D
                        Defendants.
 20
                                                Action Filed: October 23, 2015
 21
                                                Trial Date: None

 22

 23

 24

 25

 26

 27

 28
                                                1
               [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR FINAL APPROVAL
                      OF CLASS ACTION SETTLEMENT AND JUDGMENT THEREON
Case 2:15-cv-08313-GW-E Document 82 Filed 09/07/17 Page 2 of 7 Page ID #:3283



  1                                           ORDER
  2         The Court has considered Plaintiff’s Motion for Final Approval of Class Action
  3   Settlement, including all supporting declarations and documents filed by Plaintiff and
  4   his counsel, and heard oral argument of the motion on September 7, 2017. There
  5   have been no objections from the Class Members to the motion for final approval, or
  6   all objections have been overruled. There has been no opposition filed to the motion.
  7

  8   I.    INTRODUCTION
  9         This action is brought on behalf of a class of security guards employed by
 10   Defendants. On behalf of the class, Plaintiff alleges that Defendants failed to pay all
 11   wages, failed to provide legally compliant meal and rest breaks, failed to pay all
 12   wages timely on termination, and failed to provide accurate wage statements. In
 13   addition, Plaintiff alleges such violations constituted violation of California Business
 14   and Professions Code §§ 17200, et seq. (“UCL”) and entitled Plaintiff and the Class
 15   to penalties pursuant to California Labor Code §§ 2698, et seq. (“PAGA”).
 16         On June 12, 2017, the Court granted preliminary approval of the proposed
 17   settlement reached by the parties in this action, certified a class for settlement
 18   purposes only, and approved the proposed notice procedure. (Dkt. 77.)
 19         Plaintiff now moves for final approval of the Class Action Settlement and
 20   Release agreement.
 21

 22   II.   THE COURT CERTIFIES THE CLASS FOR PURPOSES OF THIS
 23         SETTLEMENT ONLY
 24         Pursuant to Federal Rule of Civil Procedure 23(c), the Court certifies the
 25   following Settlement Class:
 26                All non-exempt hourly security guard employees employed by
 27                ABM Security Services, Inc. and/or ABM Onsite Services –
 28
                                                   2
               [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR FINAL APPROVAL
                      OF CLASS ACTION SETTLEMENT AND JUDGMENT THEREON
Case 2:15-cv-08313-GW-E Document 82 Filed 09/07/17 Page 3 of 7 Page ID #:3284



  1                West, Inc. in California from October 6, 2010 through
  2                December 10, 2015.
  3

  4         Excluded from the Settlement Class are Defendants, and any of their
  5   subsidiaries, affiliates, officers, directors, agents, representatives, predecessors,
  6   successors, assigns, and family members, Class Counsel, the judge to whom the
  7   Action is assigned and any members of the judge’s staff or member of the judge’s
  8   immediate family, as well as all persons who have timely elected to opt-out from the
  9   Settlement Class.
 10

 11         In connection with certification, the Court makes the following findings that
 12   the action has satisfied the requirements of Federal Rule of Civil Procedure 23(a):
 13                (a)    The Settlement Class consists of 7,485 former employees of
 14   Defendants and, based thereon, is so numerous that joinder of all members is
 15   impracticable;
 16                (b)    There are questions of law and fact common to the Settlement
 17   Class members including, without limitation:
 18                       (i)     Whether Defendants had a policy or practice that failed to
 19                timely compensate members of the Class for all wages pursuant to
 20                California Labor Code § 204;
 21                       (ii)    Whether Defendants had a policy or practice that failed to
 22                pay overtime wages as required by the California Labor Code and IWC
 23                Wage Order 4-2001;
 24                       (iii)   Whether Defendants had a policy or practice that failed to
 25                provide lawful meal breaks and/or pay appropriate wages for missed
 26                meal breaks;
 27                       (iv)    Whether Defendants had a policy or practice that failed to
 28                provide lawful rest breaks and/or pay appropriate wages for missed rest
                                                    3
                [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR FINAL APPROVAL
                       OF CLASS ACTION SETTLEMENT AND JUDGMENT THEREON
Case 2:15-cv-08313-GW-E Document 82 Filed 09/07/17 Page 4 of 7 Page ID #:3285



  1                breaks;
  2                       (v)      Whether Defendants had a policy or practice that violated
  3                California Labor Code §§ 201-203 by unlawfully failing to pay all wages
  4                due and owing at the time Class Members were discharged or resigned
  5                their employment with Defendants;
  6                       (vi)     Whether the wage statements provided to Class Members by
  7                Defendants were complete and accurate.
  8                (c)    Plaintiff and the Class Members were all employed by the ABM
  9   Defendants as security guards, the same claims are alleged on behalf of Plaintiff and
 10   all Class Members, the claims all arise from the same course of conduct by the ABM
 11   Defendants, and will rely on the same evidence and make the same legal arguments to
 12   provide Defendants’ liability. Accordingly, Plaintiff’s claims are typical of the claims
 13   being resolved through the settlement; and
 14                (d)    There is no antagonism or conflict between Plaintiff and the Class
 15   Members. Plaintiff is and has fairly and adequately protected the interests of the
 16   Settlement Class Members in connection with the investigation, prosecution and
 17   settlement of this action.
 18

 19         In connection with certification, the Court makes the following findings that
 20   the action has satisfied the requirements of Federal Rule of Civil Procedure 23(b)(3);
 21                (a)    Common questions of law predominate over questions affecting
 22   only individual Settlement Members. The Class consists of security guards employed
 23   by Defendants during a specified time period and their claims and interests are
 24   identical. The policies and practices to which they were subjected are the same and
 25   Defendants’ liability can be determined based on those company-wide policies and
 26   practices.   Accordingly, the Settlement Class is sufficiently cohesive to warrant
 27   settlement representation; and
 28                (b)    Certification of the Settlement Class is superior to other available
                                                   4
               [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR FINAL APPROVAL
                      OF CLASS ACTION SETTLEMENT AND JUDGMENT THEREON
Case 2:15-cv-08313-GW-E Document 82 Filed 09/07/17 Page 5 of 7 Page ID #:3286



  1   methods for the fair and efficient settlement of the claims of the Settlement Class
  2   members. The Class Members have been given an opportunity to request exclusion
  3   from the Class if they desired to individually control the prosecution of their
  4   individual claims; there are no competing actions alleging these claims on behalf of
  5   this class pending; and the action can be efficiently managed as a class based on the
  6   cohesiveness of the claims and common questions of fact and law.
  7

  8          The Court finds that Class Counsel has adequately represented the Settlement
  9   Class for purposes of entering into and implementing the Settlement Agreement.
 10

 11   III.   NOTICE TO CLASS MEMBERS IS REASONABLE AND ADEQUATE
 12          The Court finds that the Class Notice sent to Settlement Class Members: (i)
 13   constituted the best practicable notice, (ii) constituted notice that was reasonably
 14   calculated under the circumstances to apprise Settlement Class Members of the
 15   pendency of the Lawsuit, of their right to object to or exclude themselves from the
 16   proposed settlement, of their right to appear at the Final Approval Hearing, and of
 17   their right to monetary and other relief; (iii) constituted reasonable, due, adequate, and
 18   sufficient notice to all persons entitled to receive notice; and (iv) met all applicable
 19   requirements of due process and any other applicable law.
 20

 21   III.   THE SETTLEMENT IS FAIR, REASONABLE AND ADEQUATE AS
 22          TO ALL PARTIES
 23          The Settlement in this matter was reached after lengthy negotiations led by an
 24   experienced mediator. The Settlement provides an immediate, tangible and
 25   significant benefit to the class.
 26          Given (1) the strength of the Plaintiff’s case, (2) the risk, expense, complexity,
 27   and likely duration of further litigation; (3) the risk of maintaining class action status
 28   through trial; (4) the amount of the settlement reached; (5) the extent of discovery
                                                   5
                [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR FINAL APPROVAL
                       OF CLASS ACTION SETTLEMENT AND JUDGMENT THEREON
Case 2:15-cv-08313-GW-E Document 82 Filed 09/07/17 Page 6 of 7 Page ID #:3287



  1   completed and stage of the proceedings; (6) the experience and favorable views of
  2   counsel; and (7) the reaction (in this case, not a single objection) of the Class
  3   Members to the proposed Settlement, the Court finds that the Agreement is fair,
  4   reasonable, and adequate as to all Parties and in compliance with all requirements of
  5   due process and applicable law, as to and in the best interests of all Parties, and
  6   directs the Parties and their counsel to implement and consummate this Agreement in
  7   accordance with its terms and provisions.
  8

  9         Taking the foregoing factors into consideration, the Court finds that the
 10   Settlement Agreement is fundamentally fair, adequate, and reasonable. Accordingly,
 11

 12         IT IS ORDERED:
 13         1.      The Class Action Settlement and Release agreement is found to be fair,
 14   reasonable, and adequate, and GRANTED final approval;
 15         2.      The Class Action Settlement and Release agreement is directed to be
 16   consummated pursuant to its terms and provisions, unless stated otherwise in this
 17   Order;
 18         3.      The Settlement Class defined as “All non-exempt hourly security guard
 19   employees employed by ABM Security Services, Inc. and/or ABM Onsite Services –
 20   West, Inc. in California from October 6, 2010 through December 10, 2015” is
 21   certified for settlement purposes only;
 22         4.      Plaintiff Vardan Karapetyan is approved as the Class Representative;
 23         5.      The law firms of Roxborough, Pomerance, Nye & Adreani, LLP and
 24   Felahy Employment Lawyers are approved as Class Counsel;
 25         6.      Defendants ABM Industries Incorporated, ABM Security Services, Inc.,
 26   ABM Onsite Services – West, Inc., and ABM Onsite Services, Inc., are jointly and
 27   severally liable for the payment of the Settlement Fund in the amount of
 28   $5,000,000.00;
                                                   6
                 [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR FINAL APPROVAL
                        OF CLASS ACTION SETTLEMENT AND JUDGMENT THEREON
Case 2:15-cv-08313-GW-E Document 82 Filed 09/07/17 Page 7 of 7 Page ID #:3288



  1         7.      The claims administrator, CPT Group, shall be paid the sum of $67,000
  2   for the cost of administration of the settlement;
  3         8.      One hundred thousand dollars ($100,000.00) of the Settlement Fund
  4   shall be allocated for the settlement and full release of any and all claims for civil
  5   penalties under the California Labor Code Private Attorney General Act (Labor Code
  6   §§ 2698, et seq.) with 75% ($75,000.00) paid to the Labor and Workforce
  7   Development Agency and 25% ($25,000.00) distributed to the Participating
  8   Settlement Class Members; AND
  9         9.      Any funds from settlement checks to Class Members remaining
 10   uncashed after 120 days shall be distributed in equal amounts to the cy pres
 11   recipients: Legal Aid Foundation of Los Angeles, Legal Aid at Work, and the
 12   Women’s Employment Rights Clinic.
 13

 14   DATED: September 7, 2017
                                              GEORGE H. WU, U.S. District Judge
 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
                                                   7
                 [PROPOSED] ORDER GRANTING PLAINTIFF’S MOTION FOR FINAL APPROVAL
                        OF CLASS ACTION SETTLEMENT AND JUDGMENT THEREON
